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                                                             July 29, 2015

Via ECF (without enclosures) and Overnight Courier
Magistrate Judge Frank Maas
United States District Court
500 Pearl St.
New York, NY 10007-1312


       Re:     Siles v. BA Victory Corp., et al.
               Index No: 14 Civ. 1904(LTS)(FM)


Dear Judge Maas:

        We are attorneys for Defendants in the above referenced matter, and write jointly
with Plaintiff’s counsel to provide an update on the status of this matter. This matter has
been resolved, and the parties will file a discontinuance. The parties will also submit a
consent for Your Honor to hear and determine this matter, and to that end are submitting a
hard copy of the confidential settlement agreement for the Court to review and approve
without publishing the confidential agreement or its terms.

       Please contact our office with any questions.

                                                            Respectfully submitted,

                                                            /Nicole Grunfeld/

                                                            Nicole Grunfeld


Cc:    All counsel (via ECF)

Enclosures (via overnight courier only)
